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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION
CAROLINE CLARK
PLAINTIFF
V. C.A. NO, A-12-CV-007-S8

AUSTIN MONTESSORI SCHOOL, INC.

DEFENDANT

DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

Defendant, Austin Montessori School, Inc. (“AMS”), respectfully asks the
Court to render partial summary judgment against plaintiff Caroline Clark
(‘Plaintiff’), pursuant to Federal Rule of Civil Procedure 56.

1.

Introduction

1. This is a pregnancy discrimination case. In her pleadings, Plaintiff
alleges AMS violated section 21.051 of the Texas Labor Code, as well as the Family
Medical Leave Act (“FMLA”) (29 U.S.C § 2611, et seq.). In this motion, AMS seeks
summary judgment as to Plaintiffs claim under the FMLA, only.

2. Plaintiff was a house guide (a teacher in the Montessori system) of 3 to
6 year-old students at AMS. Plaintiff's employment was governed by a one-year
teaching contract that covered the 2009-2010 school year. She did not have a
teaching contract with AMS, nor did AMS offer her a teaching contract, for the

2010-2011 school year.

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3. In the spring of 2010, Plaintiff announced that she was due to give
birth to a child in October, and that she planned on taking leave until January,
2011. In an effort to minimize disruption to the classroom that Plaintiffs leave
would cause, and based on Plaintiffs inquiries regarding a different position, AMS
offered Plaintiff a position as a campus coordinator for the 2010-2011 school year.
The position was not a demotion! and provided the same pay and benefits, but also
provided flexibility for extended leave and the care of a newborn. In fact, AMS
offered to arrange for Plaintiff to bring her newborn to work with her when she
returned. Plaintiff rejected the offer, however, and announced she was moving to
Dallas with her husband so that she could be a stay-at-home mom.

4, Following her move to Dallas, Plaintiff filed suit claiming that AMS
discriminated against her because she was pregnant. Specifically, Plaintiff asserts
that AMS’s decision to not renew her teaching contract was a violation of section
21.051 of the Texas Labor Code. On December 8, 2011, Plaintiff filed an amended
petition asserting AMS violated the FMLA. Plaintiff seeks economic, compensatory,
equitable and punitive damages. Plaintiff additionally seeks liquidated damages as
allowed under the FMLA.

5. In this motion, AMS seeks summary judgment as to Plaintiffs claim

under the FMLA.

1 The person holding the position at the time was an AMI-trained children’s house
guide with more classroom experience than Plaintiff.

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II.

The Parties’ Live Pleadings

Plaintiffs First Amended Petition (state court).................0006 Exhibit A

Defendant Austin Montessori School, Inc.’s First

Amended Answer.........00... voccaceuccscusccsceusessausneeususcecuuesecunsvenaveses Docket #14
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Summary Judgment Evidence

Affidavit of Dawn Glasgow (with attachments)... Exhibit B

IV.

Standard of Review

6. Summary judgment is proper in any case where there is no genuine
issue of material fact. FED. R. Crv. P. 56(c); Celotex Corp, v. Catrett, 477 U.S. 317,
322 (1986). A defendant who seeks summary judgment on a plaintiffs cause of
action must demonstrate the absence of a genuine issue of material fact by either
(1) submitting summary judgment evidence that negates the existence of a material
element of the plaintiffs claim, or (2) showing there is no evidence to support an
essential element of the plaintiffs claim. J. Geils Band Employee Benefit Plan v.
Smith Barney Shearson, Inc., 76 F.3d 1245, 1251 (1st Cir. 1996); see Celotex Corp.,

477 U.S. at 322-23.

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V.
Argument

7. To make a prima facie case of retaliation under the FMLA, a plaintiff
must show that: (1) she was protected under the FMLA, (2) she suffered an
“adverse employment action,” and (8) either (a) she was treated less favorably than
an employee who had not taken FMLA leave, or (b) the adverse decision was made
because she took FMLA leave. Hunt uv. Rapides Healthcare Sys., LLC, 277 F.3d 757,
768 (5th Cir. 2001). Plaintiff cannot produce any evidence to raise a genuine issue
of material fact with regard to the first element of her FMLA claim.

8. To prove the first element, Plaintiff must prove (1) she was an “eligible
employee” and (2) AMS was an “employer,” as defined by the act. Minard v. ITC
Deltacom Communications, Inc., 447 F.3d 352, 353 (5th Cir. 2006). The act defines
eligible employee as “an employee who has been employed (i) for at least 12 months
by the employer ... and (ii) for at least 1,250 hours of service with such employer
during the previous 12-month period.” 29 U.S.C. § 2611(2). The act defines
employer as “any person engaged in commerce or in any industry or activity
affecting commerce who employs 50 or more employees [within 75 miles of the
worksite] for each working day during each of 20 or more calendar workweeks in
the current or preceding calendar year.” 29 U.S.C. § 2611(4).

9. Whether an individual is an independent contractor or an employee
sufficient to count toward the required number of employees under the statutory

definition of “employer” under the FMLA is a question of law. See Solis v.

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Laurelbrook Sanitarium & Sch., Inc., 642 F.3d 518, 521-22 (6th Cir. 2011); Nichols
v. All Points Transp. Corp. of Michigan, Inc., 364 F. Supp. 2d 621, 631 (E.D. Mich.
2005) (citing Fegley v. Higgins, 19 F.3d 1126, 1132 (6th Cir. 1994)).

10. In determining whether employer status exists, the Fifth Circuit has
“underscored the importance of ‘the economic realities’ of employment and affirmed
a finding of employer status where there was evidence that the alleged employer

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‘independently exercised control over the work situation.” Donovan v. Grim Hotel
Co., 747 F.2d 966, 972 (5th Cir. 1984) (quoting Donovan v. Sabine Irrigation Co.,
695 F.2d 190, 194-195 (6th Cir. 1983)). “The right to control, although the most
significant factor, is not alone determinative.” Broussard v. L.H. Bossier, Inc., 789
F.2d 1158, 1160 (5th Cir. 1986). Additional factors include: (1) the kind of
occupation, with reference to whether the work usually is done under the direction
of a supervisor or is done by a specialist without supervision, (2) the skill required
in the particular occupation, (3) whether the employer or the individual in question
furnishes the equipment used and the place of work, (4) the length of time during
which the individual has worked, (5) the method of payment, whether by time or by
the job, (6) the manner in which the work relationship is terminated; i.e. by one or
both parties, with or without notice and explanation, (7) whether annual leave is
afforded, (8) whether the work is an integral part of the business of the employer,

(9) whether the worker accumulates retirement benefits, (10) whether the employer

pays social security taxes, and (11) the intention of the parties. Id.

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11. Here, Plaintiff cannot prove the first element of her FMLA claim
because AMS was not an employer, as defined by the act. Plaintiff alleges she was
denied her rights under the FMLA in or around March 2010. See Exhibit A, p. 2.
Thus, the analysis under section 2611(4) focuses on the period between January 1,
2009 and approximately March 2010, which is the preceding year (2009) and the
current year (2010) up to the date on which Plaintiff allegedly requested leave. 29
U.S.C. § 2611(4). “Whether 50 employees are employed within 75 miles to ascertain
an employee’s eligibility for FMLA benefits is determined when the employee gives
notice of the need for leave.” Hackworth v. Progressive Cas. Ins. Co., 468 F.3d 722,
726 (0th Cir. 2006) (quoting 29 C.F.R. § $25.110(0). During that time period,
using the analyses set forth in Grim Hotel and Broussard, supra, AMS did not
employ 50 or more employees during any workweek, much less during each of 20 or
more workweeks. See Exhibit B (Affidavit of Dawn Glasgow). Therefore, AMS was
not an employer, as defined by the FMLA and relevant case law, and, as a result,
Plaintiff was not entitled to the protections afforded by the FMLA. Consequently,
no fact issue exists with regard to the first element of Plaintiffs FMLA claim, Le.
whether Plaintiff was protected by the FMLA. For these reasons, AMS is entitled to
judgment as a matter of law as to Plaintiffs claim against it under the FMLA.

VI.

Prayer

12, WHEREFORE, PREMISES CONSIDERED, AMS respectfully asks the

Court to grant this motion and order that Plaintiff takes nothing against AMS

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under her FMLA claim. AMS requests any further relief to which it may show itself

justly entitled.

Respectfully submitted,

/s/_ Bryan P. Marshall
Stephanie O’Rourke
Texas State Bar No. 15310800
sorourke@cbylaw.com
Bryan P. Marshall
Texas State Bar No. 24034552
bmarshall@cbylaw.com
COKINOS, BOSIEN & YOUNG
10999 West IH-10, Suite 800
San Antonio, Texas 78230
T (210) 293-8700
F (210) 293-8733

ATTORNEYS FOR DEFENDANT

Certificate of Service

I hereby certify that on July 31, 2012, the foregoing document was filed with
the clerk of court for the U.S. District Court, Western District of Texas, using the
electronic case files system of the court. I hereby certify that I have served the
following counsel of record electronically or by another manner authorized by
Federal Rule of Civil Procedure 5(b)(2).

Russell Scott Cook

Melissa A. Jacobs

The Cook Law Firm

919 Congress Avenue, Suite 1145
Austin, Texas 78701
ATTORNEYS FOR PLAINTIFF

/s/_ Bryan P. Marshall
Bryan P. Marshall

